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   1 Mathew K. Higbee, Esq., SBN 241380
     Ryan E. Carreon, Esq., SBN 311668
   2 HIGBEE & ASSOCIATES
     1504 Brookhollow Dr., Suite 112
   3 Santa Ana, CA 92705
     (714) 617-8336
   4 (714) 597-6559 facsimile
     Email: mhigbee@higbeeassociates.com
   5 rcarreon@higbeeassociates.com
   6 Attorney for Plaintiff,
     ADLIFE MARKETING & COMMUNIATIONS CO. INC
   7                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
   8
     ADLIFE MARKETING &                     Case No. 8:19-cv-01053-JLS-JDE
   9 COMMUNIATIONS CO. INC.,
                                            Hon. Josephine L. Staton
  10                           Plaintiff,
                                            NOTICE OF MOTION AND
  11 v.                                     MOTION TO DISMISS THE
                                            COUNTERCLAIMS
  12 JETRO CASH & CARRY
     ENTERPRISES LLC; JETRO                 Courtroom: 10A – 10th Floor
  13 HOLDINGS, LLC; RESTAURANT
     DEPOT, LLC; and DOES 1 through 10      Hearing Time: 10:30 a.m.
  14 inclusive.
                                            Hearing Date: Dec. 13, 2019
  15                          Defendants.
                                            Complaint Filed: May 30, 2019
  16
  17
  18   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

  19         PLEASE TAKE NOTICE that on December 13, 2019 at 10:30 A.M., or as

  20   soon thereafter as the matter may be heard in the courtroom of the Honorable

  21   Josephine L. Staton of the above-titled court, located at the Ronald Reagan Federal

  22   Building and United States Courthouse, 411 W. Fourth St., Santa Ana, CA, 92701,
       Courtroom 10A, 10th Floor, Plaintiff Adlife Marketing & Communications Co.,
  23
       Inc. (“Adlife”) will move to dismiss the counterclaims asserted by Defendants Jetro
  24
       Cash & Carry Enterprises, LLC, Jetro Holdings, LLC and Restaurant Depot, LLC
  25
       (“Jetro”) pursuant to Federal Rules of Civil Procedure 12(b)(6).
  26
             Pursuant to Local Rule 7-3 counsel for the parties met and conferred on
  27
       September 30, 2019. Declaration of Ryan E. Carreon (“Carreon Decl.”) ¶3.
  28
                                       MOTION TO DISMISS
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   1         This Motion is brought on the grounds that all of Jetro’s counterclaims fail to
   2   state a claim upon which relief can be granted and fail the meet the pleading

   3   standards of Federal Rules of Civil Procedure 8 and 9.

   4         This Motion is based on this Notice of Motion, the attached memorandum of

   5   points and authorities, the declaration of Ryan E. Carreon in support, and the

   6   pleadings, files and other materials that are on file with the Court or may be

   7   presented at the hearing.

   8
       DATED: October 15, 2019                      Respectfully submitted,
   9
  10                                                      /s/ Ryan E. Carreon
  11                                                      Ryan E. Carreon, Esq.
                                                          Cal. Bar No. 311668
                                                          HIGBEE & ASSOCIATES
  12                                                      1504 Brookhollow Dr., Ste 112
                                                          Santa Ana, CA 92705-5418
  13                                                      (714) 617-8336
                                                          (714) 597-6559 facsimile
  14                                                      Counsel for Plaintiff
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   1                  MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.      INTRODUCTION
   3         This is a copyright infringement and breach of contract lawsuit arising from
   4   Jetro unauthorized use of Adlife’s food images in advertising circulars.
   5         For decades, Adlife has created, artistically arranged and professionally
   6   produced a library of still images of food and other grocery items. Adlife’s library
   7   now consists of approximately 30,000 photos. The photographs are high-resolution,
   8   artistically rendered with pleasing angles and selective lighting, color-corrected and
   9   color-separated, which makes them particularly valuable as, when used together,
  10   they provide color consistency. Complaint ¶14. All of its food images are registered
  11   with the United States Copyright Office. Complaint ¶17.
  12         Adlife offers its unique library of food images for license on a subscription

  13   basis through its website www.preparedfoodphotos.com. Complaint ¶23.

  14         Jetro operates a series of membership based wholesale cash and carry

  15   foodservice supplier warehouses in various regions of the United States under the

  16   “Jetro Cash and Carry” and “Restaurant Depot” banners. Complaint ¶¶18-19;

  17   Answer ¶¶18-19. In order to advertise its food products, Jetro distributes print and
       digital circulars containing food images. Complaint ¶¶20-21; Answer ¶21.
  18
             On or about March 13, 2017, Adlife and Jetro entered into a license
  19
       agreement allowing Jetro to access and use Adlife’s images. Complaint ¶29;
  20
       Answer ¶29. Under the terms of the license agreement, Jetro was only authorized to
  21
       use Adlife’s food images during the subscription term. Complaint ¶¶32-33, Exhibit
  22
       B; Answer ¶32. Once the subscription term expired or was terminated, Jetro was
  23
       contractually obligated to cease all use of Adlife’s food images. Ibid. The parties
  24
       also agreed to a contractual liquidated damages clause setting an agreed upon price
  25
       of $8,000 per medium/channel of use for each unauthorized use of and Adlife food
  26
       image. Ibid.
  27
             Per the terms of the license agreement, Jetro was required to give at least 30
  28
                                       MOTION TO DISMISS
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   1   days notice prior to cancelling its subscription. Complaint ¶32. In September of
   2   2018, Jetro notified Adlife in an email that it wished to cancel its subscription.

   3   Complaint ¶¶35-38; Answer ¶¶35-38. The subscription subsequently expired on

   4   March 1, 2019. Complaint ¶40.

   5         Under the express terms of the subscription agreement, Jetro was to

   6   immediately cease all use of Adlife’s food images upon expiration of the license

   7   term. Complaint ¶41. In April 2019, Adlife began to discover that Jetro was
       continuing to use Adlife food images in its print and online circulars despite the
   8
       term of the license agreement with Adlife having expired a month prior. Complaint
   9
       ¶42. After reviewing Jetro circulars and discovering additional unauthorized uses of
  10
       its food images, Adlife filed the instant lawsuit on May 30, 2019.
  11
             As of the date of the filing of the complaint, Adlife had identified at least 464
  12
       instances of unauthorized use of at least 64 of its food images. Complaint ¶43.
  13
       Since the complaint was filed, Adlife has continued to monitor Jetro’s circulars, and
  14
       has discovered 18 images used by Jetro branded stores in 210 separate print and
  15
       digital uses, and 66 images used by Restaurant Depot branded stores in 834
  16
       separate print and digital uses for a combined total of 1,044 print and digital uses;
  17
       more than double the original count in the Complaint. Carreon Decl. ¶4.
  18
             On August 26, 2019, Jetro filed an Answer and Counterclaims against Adlife.
  19
       Dkt. #22. After the parties conferred, on September 24, 2019, Jetro filed Amended
  20
       Counterclaims against Adlife for (1) Copyright Invalidity; (2) Copyright Non-
  21
       Infringement; (3) Breach of Contract; (4) Breach of Implied Covenant of Good
  22
       Faith and Fair Dealing; (5) Fraud; and (6) Unfair Competition. Dkt. #24.
  23
             Adlife now moves to dismiss the Counterclaims assreted by Jetro.
  24   II.   MOTION TO DISMISS STANDARD
  25         In deciding a motion to dismiss under Rule 12(b)(6), courts must accept as
  26   true all "well-pleaded factual allegations" in a complaint. Ashcroft v. Iqbal, 556
  27   U.S. 662, 679 (2009). Furthermore, courts must draw all reasonable inferences in
  28   the light most favorable to the non-moving party. See Daniels-Hall v. National
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   1   Educ. Ass'n, 629 F.3d 992, 998 (9th Cir. 2010). However, "courts 'are not bound to
   2   accept as true a legal conclusion couched as a factual allegation.'" Bell Atl. Corp.

   3   v. Twombly, 550 U.S. 544, 555 (2007) (quoting Papasan v. Allain, 478 U.S. 265,

   4   286 (1986)).

   5         "To survive a motion to dismiss, a complaint must contain sufficient factual

   6   matter, accepted as true, to 'state a claim to relief that is plausible on its

   7   face.'" Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). "A claim has
       facial plausibility when the plaintiff pleads factual content that allows the court to
   8
       draw the reasonable inference that the defendant is liable for the misconduct
   9
       alleged." Ibid. (citing Twombly, 550 U.S. at 556). Although a complaint "does not
  10
       need detailed factual allegations," the "[f]actual allegations must be enough to raise
  11
       a right to relief above the speculative level." Twombly, 550 U.S. at 555. Thus, a
  12
       complaint must (1) "contain sufficient allegations of underlying facts to give fair
  13
       notice and to enable the opposing party to defend itself effectively," and (2)
  14
       "plausibly suggest an entitlement to relief, such that it is not unfair to require the
  15
       opposing party to be subjected to the expense of discovery and continued
  16
       litigation." Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).
  17
             Where a claimant alleges fraudulent conduct as the basis for its claim, the
  18
       claim is said to be "'grounded in fraud' or to 'sound in fraud,' and the pleading . . . as
  19
       a whole must satisfy the particularity requirement of Rule 9(b)." Kearns v. Ford
  20
       Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009) (citing Vess v. Ciba-Geigy Corp.
  21
       USA, 317 F.3d 1097, 1103-04 (9th Cir. 2003)). A claim is 'grounded in fraud' where
  22
       its elements include "a false representation, knowledge of its falsity, intent to
  23
       defraud, justifiable reliance, and damages." Moore v. Brewster, 96 F.3d 1240, 1245
  24
       (9th Cir. 1996).
  25         In this case, all of Jetro’s counterclaims should be dismissed for failure to
  26   plausibly state a claim. Counterclaims 1 through 4 do not allege sufficient facts to
  27   state a plausible claim for relief, and the barebones facts that are alleged are not
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                                         MOTION TO DISMISS
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   1   sufficient to state a claim. Likewise, Counterclaims 5 and 6 do not meet the
   2   heightened pleading standards of Rule 9, nor do the facts alleged state a claim upon

   3   which relief can be granted.

   4          Adlife respectfully requests that Jetro’s counterclaims be dismissed.
       III.   EACH OF JETRO’S COUNTERCLAIMS SHOULD BE DISMISSED
   5
              1.      Jetro’s Counterclaim For Copyright Invalidity Should Be
   6                  Dismissed For Lack of Plausible Facts.
   7          For its First Counterclaim, Jetro alleges that Adlife’s copyrights are “invalid,
   8   including for non-registration, non-originality, lack of authorship and/or lack of
   9   ownership.” Furthermore, Jetro alleges that “at least some of the many asserted
  10   copyrights are non-original and/or generic images of indistinctive, commonplace
  11   items.” And that Adlife “lacks valid title to at least some of the many asserted
  12   copyrights.”
  13          As an initial matter, Jetro’s allegations are conclusory and lack any alleged
  14   factual basis. See Iqbal, 556 U.S. at 678, 686 (the plaintiff must allege facts, not
  15   conclusions, from which the defendant's liability plausibly may be inferred).
  16   Furthermore, the use of “and/or” makes it difficult for Adlife to understand the
  17   basis for Jetro’s claim. Are the copyrights invalid because of lack of registration?
  18   Non-originality? Lack of authorship? Lack of ownership? Or some combination of
  19   those theories? Without precisely identifying the theory on which Jetro basis its
  20   claim, Adlife cannot be reasonably expected to defend against what amounts to a
  21   moving target.
  22          Even if Jetro’s barebones conclusory allegations are taken as true, many of

  23   them are not factually plausible. For example invalidity as a result of “non-

  24   registration” and “non-originality” cannot be plausibly asserted.

  25          As to invalidity for non-registration, Jetro’s claim must fail because

  26   registration is not required to hold a valid copyright, and the record shows that

  27   Adlife has, in fact, registered the food images at issue. As a general rule copyright
       vests initially in the author or authors of a work. 17 U.S.C. § 201(a). Copyright
  28
                                        MOTION TO DISMISS
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   1   protection subsists from the moment the work is "fixed in any tangible medium of
   2   expression." 17 U.S.C. § 102(a). Registration is not a prerequisite to a

   3   valid copyright, although it is a prerequisite to suit. 17 U.S.C. § 408(a); see also

   4   S.O.S., Inc. v. Payday, Inc., 886 F.2d 1081, 1085 (9th Cir. 1989). Because

   5   registration is not a prerequisite for copyright validity, Jetro’s claim that Adlife’s

   6   copyrights are invalid because they are not registered is implausible. Regardless,

   7   Adlife has attached to its pleading a spreadsheet which shows each of the food
       images at issue with the corresponding registration number all of which can be
   8
       verified on the Copyright Office website. See Dkt. #1, Exhibit D. Thus, it is
   9
       implausible for Jetro to assert that the food images at issue are not registered, let
  10
       alone invalid for lack of registration.
  11
             Similarly, Jetro’s allegation that Adlife’s copyright are invalid because “at
  12
       least some of the many asserted copyrights are non-original and/or generic images
  13
       of indistinctive, commonplace items” must also fail.
  14
             The subject matter of copyright embodies original works of authorship fixed
  15
       in any tangible medium of expression from which they can be perceived,
  16
       reproduced, or otherwise communicated, either directly or with the aid of a machine
  17
       or device. 17 U.S.C. § 102(a). Works of authorship include, among other things,
  18
       pictorial works. § 102(a), (a)(5). Additionally, a work is fixed in a tangible medium
  19
       of expression when its embodiment in a copy is sufficiently permanent or stable to
  20
       permit it to be perceived, reproduced, or otherwise communicated for a period of
  21
       time of more than transitory duration. 17 U.S.C. § 101. Whether a subject matter is
  22
       copyrightable is a question of law which may be determined on a Motion to
  23
       Dismiss. See Poe v. Missing Persons, 745 F.2d 1238, 1242 (9th Cir. 1984)).
  24
             Photographs are generally viewed as creative, aesthetic expressions of a
  25   scene or image and have long been the subject of copyright. See 17 U.S.C. §
  26   102(a)(5); see also Kitchens of Sara Lee, Inc. v. Nifty Foods Corp., 266 F.2d 541,
  27   544-545 (2d Cir. 1959) (finding requisite originality where plaintiff "had put in
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                                         MOTION TO DISMISS
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   1   time, creative thought and money" into its realistic pictorial representations, made
   2   by artists and lithographers, of certain cakes).

   3         "To qualify for copyright protection, a work must be original to the author."

   4   Feist Publications, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345 (1991).

   5   "Original, as the term is used in copyright, means only that the work was

   6   independently created by the author (as opposed to copied from other works), and

   7   that it possesses at least some minimal degree of creativity." Ibid. Originality does
       not require that the work "must be either novel or unique, it simply means a work
   8
       independently created by its author, one not copied from pre-existing works, and a
   9
       work that comes from the exercise of the creative powers of the author's mind, in
  10
       other words, the fruits of the author's intellectual labor." Boisson v. Banian, Ltd,
  11
       273 F.3d 262, 268 (2d Cir. 2001) (quotations, citations, and brackets omitted).
  12
       Thus, "the requisite level of creativity is extremely low," and "[t]he vast majority of
  13
       works make the grade quite easily, as they possess some creative spark, no matter
  14
       how crude, humble or obvious it might be." Feist, 499 U.S. at 345.
  15
             Jetro’s counterclaim contends that Adlife’s food photographs are “are non-
  16
       original and/or generic images of indistinctive, commonplace items” and therefore
  17
       not subject to copyright. The Supreme Court rejected a similar argument more than
  18
       100 years ago. In Burrow-Giles Lithographic Co. v. Sarony, 111 U.S. 53 (1884),
  19
       the plaintiff argued a photograph of the author Oscar Wilde was not original and
  20
       therefore not copyrightable because a "photograph is the mere mechanical
  21
       reproduction of the physical features or outlines of some object animate or
  22
       inanimate, and involves no originality of thought or any novelty in the intellectual
  23
       operation connected with its visible reproduction in shape of a picture." Id. at 59.
  24
       The Court held the Wilde photograph clearly was original because of the creative
  25   and intellectual decisions involved in producing it:
  26
             [The court below found that the photograph was] a "useful, new, harmonious,
  27         characteristic, and graceful picture, and that plaintiff made the same . . .
             entirely from his own original mental conception, to which he gave visible
  28         form by posing the said Oscar Wilde in front of the camera, selecting and
                                        MOTION TO DISMISS
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              arranging the costume, draperies, and other various accessories in said
   1          photograph, arranging the subject so as to present graceful outlines, arranging
              and disposing the light and shade, [and] suggesting and evoking the desired
   2          expression . . . ."
   3          These findings, we think, show this photograph to be an original work of art,
              the product of plaintiff's intellectual invention, of which plaintiff is the author
   4          ....
   5   Id. at 60.

   6          Thirty-seven years later, Judge Learned Hand suggested the question left

   7   open in Burrow-Giles -- whether all photographs are sufficiently original by their
       nature to merit copyright protection -- had been answered in the affirmative by
   8
       Bleistein v. Donaldson Lithographing Co., 188 U.S. 239 (1903), which held that
   9
       chromolithographs that depicted real scenes and people, as photographs do, were
  10
       copyrightable because they were "the personal reaction of an individual upon
  11
       nature. Personality always contains something unique. It expresses its singularity
  12
       even in handwriting, and a very modest grade of art has in it something irreducible,
  13
       which is one man's alone. That something he may copyright . . . ." Id. at 250. In
  14
       Jewelers' Circular Publishing Co. v. Keystone Publishing Co., 274 F. 932, 934
  15
       (S.D.N.Y. 1921), aff'd, 281 F. 83 (2d Cir. 1922), Judge Hand said, "Burrow-Giles
  16
       [Lithographic] Co. v. Sarony . . . left open an intimation that some photographs
  17
       might not be protected . . . . I think that . . . Bleistein v. Donaldson Lithographing
  18
       Co. . . . rules, because no photograph, however simple, can be unaffected by the
  19
       personal influence of the author, and no two will be absolutely alike."
  20
              Professor Nimmer's treatise reports that Judge Hand's statement of the law
  21
       "has become the prevailing view, so that [almost] any . . . photograph may claim
  22
       the necessary originality to support a copyright merely by virtue of the
  23
       photographers' personal choice of subject matter, angle of photograph, lighting, and
  24
       determination of the precise time when the photograph is to be taken." 1 Melville B.
  25   Nimmer & David Nimmer, Nimmer on Copyright § 2.08[E][1], at 2 - 126.3 (1992
  26   ed.) (footnote omitted)1.
  27
       1
         The exceptions Nimmer would recognize do not apply in this case. See Id. at 2 - 126.3-2 - 126.7
  28   (suggesting a photograph of a copyrighted photograph would not be copyrightable, nor would a
                                            MOTION TO DISMISS
                                                  7
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   1          Cases after Burrow-Giles and Bleistein confirmed that a photograph of an
   2   object is copyrightable. See, e.g., Rogers v. Koons, 960 F.2d 301, 307 (2d Cir.

   3   1992) (photograph of puppies); Eastern America Trio, 97 F. Supp. 2d at 417

   4   (photographs of "common industrial items" including electrical products); Pagano

   5   v. Chas. Beseler Co., 234 F. 963, 964 (S.D.N.Y. 1916) (photograph of a scene

   6   including the New York Public Library). Indeed, the Ninth Circuit endorses the

   7   liberal view that “even the slightest artistic touch will meet the originality test for
       a photograph.” Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d 1068, 1076 (9th Cir. 2000);
   8
       see also Bleistein, 188 U.S. at 250 ("The least pretentious picture has more
   9
       originality in it than directories and the like, which may be copyrighted.").
  10
              In this case, Adlife’s food images clearly meet the very low bar of originality
  11
       such that they are subject to copyright. Adlife’s food images are artistically
  12
       arranged and rendered using pleasing angles, selective lighting, color correction and
  13
       color separation, all of which requires a high degree of creativity. Complaint ¶ 14;
  14
       see also Burrow-Giles Lithographic Co., 111 U.S. 53. The originality and creativity
  15
       embodied in Adlife’s images is readily apparent upon visual inspection. See
  16
       Complaint, Exhibit D-E.
  17
              Because Adlife’s food images are sufficiently creative and original to be
  18
       subject to copyright protection, it is implausible for Jetro to allege that Adlife’s
  19
       food images are invalid because they are “non-original” or depict “generic images
  20
       of indistinctive, commonplace items.”
  21
              To conclude, Jetro’s First Counterclaim for Copyright Invalidity must be
  22
       dismissed for failure to state a claim.
  23
              2.      Jetro’s Counterclaim For Copyright Non-Infringement Should Be
  24                  Dismissed Because It Is Merely A Mirror Image Of Adlife’s Claim.
  25          For its Second Counterclaim, Jetro alleges as its sole basis that it has “not
  26   infringed any of the many asserted copyrights, including because [Jetro’s] conduct
  27
        photograph that duplicated exactly every single element of a copyrighted photograph).
  28
                                            MOTION TO DISMISS
                                                  8
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   1   was authorized, licensed, and/or qualifies as fair use.” Counterclaim ¶ 15. Once
   2   again, Jetro’s claim must fail because it relies solely on conclusory barebones

   3   allegations that lack any discernable factual basis, and because its use of “and/or”

   4   make it impossible for Adlife to precisely identify the theory upon which Jetro’s

   5   claim rests.

   6         Under 28 U.S.C. § 2201(a), a district court may grant a declaratory

   7   judgment only "[in] a case of actual controversy within its jurisdiction." Ibid. "A
       counterclaim seeking a declaration of non-infringement [of a copyright] is viable
   8
       only when it presents an independent case or controversy that would survive a
   9
       dismissal of the plaintiff's infringement claim." Maverick Recording Co. v.
  10
       Chowdhury, 2008 WL 3884350, at *2 (E.D.N.Y. Aug 19, 2008). "The central issue
  11
       in these cases is whether the defendants committed copyright infringement, and the
  12
       defendants' counterclaim seeking a declaratory judgment that they did not is
  13
       duplicative and entirely redundant." Maverick Recording Co., 2008 U.S. Dist.
  14
       LEXIS 63783, 2008 WL 3884350, at *2.
  15
             Jetro’s declaratory judgment counterclaim seeking a declaration of non-
  16
       infringement is the mirror image of Adlife’s infringement claim, precisely. Jetro
  17
       has made absolutely no showing that its counterclaim represents an independent
  18
       case or controversy that would survive resolution of Adlife’s infringement claim
  19
       one way or the other. In any event, though a court "must take all of the factual
  20
       allegations in the [counterclaim] as true, it is not bound to accept as true a legal
  21
       conclusion couched as a factual allegation." Iqbal, 556 U.S. at 678 (internal citation
  22
       and quotation marks omitted).
  23
             Jetro asserts no facts to show that it has not in fact infringed on Adlife
  24
       copyright or that its conduct “was authorized, licensed, and/or qualifies as fair use.”
  25   Counterclaim ¶ 14. Quite the contrary, Jetro admits that it canceled its subscription
  26   to use Adlife’s food image library in September of 2018. Complaint ¶ 38; Answer ¶
  27   38. As a result, Jetro’s Second Counterclaim for Copyright Non-Infringement must
  28
                                        MOTION TO DISMISS
                                              9
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   1   be dismissed for failure to plausibly state a claim.
   2         3.     Jetro’s Counterclaim For Breach Of Contract Should Be
                    Dismissed For Failure To State A Claim.
   3
             For its Third Counterclaim, Jetro alleges that Adlife breached the license
   4
       agreement executed by the parties.
   5
             In essence, Jetro’s Counterclaim for Breach of Contract alleges that when
   6
       entering in to the contract, Jetro “reasonably believed” that the parties’ obligations
   7
       “included the duty to limit the extent of any harm or damages claimed from any
   8
       asserted infringing and/or unauthorized uses following the expiration of the
   9
       Agreement” and that “Adlife’s failure to promptly inform [Jetro] of Adlife’s
  10
       discovery of asserted infringing and/or unauthorized uses following the expiration
  11
       of the Agreement caused harm to and damaged [Jetro]” and that Adlife breached
  12
       “its obligation to promptly inform [Jetro] of any infringing and/or unauthorized
  13
       uses, and mitigate harm and/or damages. See Counterclaim ¶¶19-28.
  14
             On or about March 13, 2017, Adlife and Jetro entered into a license
  15   agreement allowing Jetro to access and use Adlife’s images. Complaint ¶ 29,
  16   Exhibit B; Answer ¶ 29. Jetro subsequently cancelled its subscription and Jetro’s
  17   license to use Adlife’s images expired on March 1, 2019. Complaint ¶¶38-40. The
  18   express terms of the license agreement made no mention of any obligation by
  19   Adlife to inform Jetro of alleged unauthorized use prior to filing a lawsuit. See
  20   Complaint, Exhibit C. The license agreement, which is to be interpreted according
  21   to the laws of Rhode Island, contains an integration clause stating that it
  22   “constitutes the entire agreement between the Parties as to the subject matter.”
  23   Complaint, Exhibit B ¶ 9(d).
  24         One month later, in April 2019, Adlife discovered that Jetro had continued to
  25   use Adlife’s food images despite agreeing in the license agreement that any further
  26   usage of the Adlife’s food images outside the license term would be considered
  27   unauthorized. Complaint ¶¶32, 42. One month after discovering Jetro’s
  28   unauthorized use of Adlife’s food images, in May 2019, Adlife filed the instant
                                        MOTION TO DISMISS
                                              10
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   1   lawsuit. See Dkt. #1.
   2          Notably absent from any of the allegations in Jetro’s Third Counterclaim is

   3   any citation to the written agreement between the parties evidencing that Adlife had

   4   the contractual obligation to inform Jetro that Adlife has discovered alleged

   5   unauthorized use of its food images, which Jetro alleges as the sole basis for its

   6   claim of breach. This is because nowhere in the express terms of the license

   7   agreement is Adlife obliged to inform Jetro of discovery of unauthorized use of
       Adlife’s food images or to mitigate its damages. See Complaint, Exhibit B. Instead,
   8
       Jetro relies on its supposed “reasonable belief” that these terms are part of the
   9
       parties’ agreement.
  10
             As the Rhode Island Supreme Court observed,
  11
             [W]hen parties to a contract have adopted a written agreement as the final
  12         expression of their intention in regard to a portion of or the entire subject
             matter of the transaction, all other expressions of intention that have occurred
  13         prior to or contemporaneous with the making of the agreement are
             immaterial in ascertaining the terms of the transaction.
  14
       Fram Corp. v. Davis, 121 R.I. 583, 587-88, 401 A.2d 1269, 1272 (1979); see also
  15
       Perrotta v. Paine, 1994 R.I. Super. LEXIS 54, at *5 (Super. Ct. May 17,
  16
       1994)(Where a contract constitutes a fully integrated instrument, extrinsic evidence
  17
       should not be considered and the express terms and conditions set forth in the
  18
       contract prevails.).
  19
             Jetro’s Third Counterclaim for Breach of Contract must fail because the
  20
       express integration clause contained in the parties’ license agreement precludes
  21
       Jetro from relying on terms that it “reasonably believed” were part of the license
  22
       agreement but are not expressly present in its written terms. Even if Jetro
  23
       reasonably believed that the notice and mitigation terms alleged in its Counterclaim
  24
       are part of the license agreement, Jetro’s tacit admission that no express terms in the
  25   license agreement state as such is fatal because the license agreement contains an
  26   integration clause which precludes the unwritten terms from the contract. See
  27   Complaint, Exhibit B ¶ 9(d).
  28
                                        MOTION TO DISMISS
                                              11
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   1         Even if Adlife was contractually obliged to mitigate its damages and give
   2   Jetro notice of the unauthorized use of Adlife’s food images, Jetro’s claim must still

   3   fail. Jetro alleges that Adlife did not provide notice, but Jetro completely ignores

   4   the fact that it was placed on actual notice of its conduct only one month after

   5   Adlife discovered the unauthorized use of its food images when Adlife filed the

   6   Complaint in May 2019 and served it shortly thereafter. See Complaint ¶ 42

   7   (infringements discovered in April 2019). While Jetro may disagree with Adlife’s
       decision to file suit rather than reach out to Jetro in some other manner, nothing in
   8
       Jetro’s allegations or in the license agreement between the parties suggests that
   9
       Adlife was precluded from filing a lawsuit to effectuate notice of its claims.
  10
             Furthermore, even assuming Adlife had a duty to mitigate, Jetro cannot
  11
       plausibly claim that Adlife failed to mitigate its damages. Jetro does not specifically
  12
       allege in its Counterclaim how it believes Adlife failed to mitigate its damages.
  13
       Nonetheless, the facts do not suggest that Adlife unreasonable failed to mitigate its
  14
       damages. Adlife could have sat idly by for years and waited to assert its claims until
  15
       near the end of the statute of limitations period in order for maximum damages to
  16
       accrue. However, shortly after discovering its claims and briefly investigating,
  17
       Adlife chose to swiftly file suit. Such diligence by Adlife mitigated any potential
  18
       additional damages by placing Jetro on actual notice of Adlife’s claims of
  19
       unauthorized use shortly after they were uncovered thereby giving Jetro the
  20
       opportunity to quickly cease its unauthorized conduct.
  21
             Therefore, Jetro’s Third Counterclaim for Breach of Contract must be
  22
       dismissed for failure to plausibly state a claim.
  23
             4.     Jetro’s Counterclaim For Breach of The Implied Covenant Of
  24                Good Faith And Fair Dealing Should Be Dismissed.
  25         For its Fourth Counterclaim, Jetro alleges that Adlife breached the implied
  26   covenant of good faith and fair dealing present in the license agreement
  27         by failing to exercise its discretion in favor of informing Counterclaimants as
             immediately as possible of any infringing and/or unauthorized uses, in order
  28         to mitigate harm and/or damages.
                                        MOTION TO DISMISS
                                              12
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   1   Counterclaim ¶31.
   2         It is well established in Rhode Island that "virtually every contract contains

   3   an implied covenant of good faith and fair dealing between the parties."

   4   Dovenmuehle Mortgage, Inc. v. Antonelli, 790 A.2d 1113, 1115 (R.I. 2002)

   5   (quoting Centerville Builders, Inc. v. Wynne, 683 A.2d 1340, 1342 (R.I.

   6   1996)). This implied covenant exists between the parties to a contract so that the

   7   contractual objectives may be achieved. Ide Farm & Stable, Inc. v. Cardi, 110 R.I.
       735, 739, 297 A.2d 643, 645 (1972) (citing Psaty & Fuhrman v. Housing Auth., 76
   8
       R.I. 87, 68 A.2d 32 (1949)); see also Rhode Island Charities Trust v. Engelhard
   9
       Corp., 109 F. Supp. 2d 66, 73 (D.R.I. 2000) (holding that the implied covenant of
  10
       good faith and fair dealing imposes a limitation upon one party adversely impacting
  11
       the contract's value to the other party). The applicable standard in determining
  12
       whether the implied covenant of good faith and fair dealing has been breached is
  13
       "whether or not the actions in question are free from arbitrary or unreasonable
  14
       conduct." Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 66 F. Supp. 2d 317, 329
  15
       (D.R.I. 1999); see Reid v. Key Bank of S. Maine, Inc., 821 F.2d 9, 14 (1st Cir.
  16
       1987) (holding that good faith, under a subjective standard, is defined as "honesty
  17
       in fact"); see also, U.C.C. § 1-201(b)(20) ("Good faith," except as otherwise
  18
       provided in Article 5, means honesty in fact and the observance of reasonable
  19
       commercial standards of fair dealing). While every breach of the implied covenant
  20
       may give rise to a breach of contract claim, not every breach of contract is
  21
       necessarily a breach of the implied covenant of good faith and fair dealing. Ross-
  22
       Simons of Warwick, Inc. v. Baccarat, Inc., 66 F. Supp. 2d 317, 330 (D.R.I. 1999)
  23
       This is because the implied covenant of good faith and fair dealing is a
  24
       counterpromise implied in every contract that the promisee will act in a manner
  25   consistent with the purposes of the contract. Ibid, citing 17A Am. Jur. 2d Contracts
  26   § 380 (1991).
  27         Here, similar to the argument advanced in section III.3, supra, nothing in
  28
                                       MOTION TO DISMISS
                                             13
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   1   Adlife’s conduct suggests that it did not act reasonably and in good faith or that it
   2   acted in any manner inconsistent with its obligation in parties’ license agreement.

   3   Simply put, Adlife believed that Jetro engaged in unauthorized use of Adlife’s

   4   intellectual property in violation of the parties’ license agreement and, having

   5   concluded that a breach likely did occur, Adlife elected to protect its rights by filing

   6   a lawsuit only one month after discovering and verifying its claim. As explained

   7   above, the license agreement contains no express provision obligating Adlife to
       give notice to Jetro prior to filing suit. Adlife’s conduct is neither arbitrary
   8
       unreasonable, or in bad faith. Adlife simply believed it had a legitimate legal claim
   9
       against Jetro and acted accordingly to protect its rights.
  10
             Nor did Adlife’s conduct in any way frustrate Jetro from receiving the full
  11
       benefit of its bargain from the license agreement. Jetro does not assert that Adlife
  12
       acted unreasonably or in bad faith during the term of the license. Rather, all of the
  13
       allegations contained in Jetro’s counterclaims occurred after Jetro had cancelled its
  14
       subscription to use Adlife’s food images. During the time period that Jetro was
  15
       authorized to use Adlife food images, Jetro received the full benefit of its bargain as
  16
       set forth in the license agreement, i.e. full access and use of Adlife’s food image
  17
       database for the agreed upon price.
  18
             Jetro’s Fourth Counterclaim concerns the time period of Jetro’s unauthorized
  19
       use of Adlife’s food images, which occurred outside of the bargained time period of
  20
       authorized use set forth in the license agreement. That Jetro may be forced to pay
  21
       substantial monetary damages for acting in violation of the parties’ license
  22
       agreement does not mean that Jetro did not receive the full benefit of its bargain
  23
       during the time period its subscription was valid. Had Jetro ceased use of Adlife’s
  24
       food images upon expiration of the term of the license agreement, as it was
  25   contractually obligated to do, Adlife would have had no claim for monetary
  26   damages against Jetro. Because Adlife’s claims concerns conduct by Jetro expressly
  27   prohibits by the parties’ license agreement Jetro cannot complaint that it was
  28
                                        MOTION TO DISMISS
                                              14
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   1   deprived of the benefit of its bargain as a result of acting outside the bounds of the
   2   bargained for agreement. That Adlife decided to seek a legal remedy in response

   3   Jetro’s unauthorized conduct does not give rise to a breach by Adlife of its covenant

   4   of good faith and fair dealing.

   5            Therefore, Jetro’s Fourth Counterclaim for Breach of Implied Covenant of

   6   Good Faith and Fair Dealing must be dismissed for failure to plausibly state a

   7   claim.

   8            5.    Jetro’s Counterclaim For Fraud Should Be Dismissed Because It
                      Fails To Meet The Heightened Rule 9 Pleading Standard.
   9
                For its Fifth Counterclaim for Fraud, Jetro alleges that Adlife misrepresented
  10
       to Jetro, “by omission and failure to disclose, important facts concerning Adlife’s
  11
       discovery of asserted infringing and/or unauthorized uses following the expiration
  12
       of the Agreement,” that “Adlife’s misrepresentations were false, and Adlife knew
  13
       they were false when Adlife failed to inform [Jetro] of the material facts concerning
  14
       Adlife’s discovery of asserted infringing and/or unauthorized uses,” and that Adlife
  15   intended for Jetro “to rely upon its misrepresentations, and they did.” See
  16   Counterclaim ¶¶35-39. Jetro’s barebones and conclusory allegations do not meet
  17   the heightened pleading standard for fraud set forth in Rule 9.
  18            Rule 9(b) states that an allegation of "fraud or mistake must state with
  19   particularity the circumstances constituting fraud." Fed. R. Civ. P. 9(b). The
  20   "circumstances" required by Rule 9(b) are the "who, what, when, where, and how"
  21   of the fraudulent activity. Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th
  22   Cir. 2003); Neubronner v. Milken, 6 F.3d 666, 672 (9th Cir.1993) ("[Rule
  23   9(b) requires] the times, dates, places, benefits received, and other details of the
  24   alleged fraudulent activity."). “[A] plaintiff must set forth more than the neutral
  25   facts necessary to identify the transaction.” Decker v. GlenFed, Inc. (In re GlenFed,
  26   Inc. Sec. Litig.), 42 F.3d 1541, 1548 (9th Cir.1994). In addition, the allegation
  27   "must set forth what is false or misleading about a statement, and why it is false."
  28   Vess, 317 F.3d at 1106 (quoting In re Glenfed, Inc. Secs. Litig., 42 F.3d 1541, 1548
                                         MOTION TO DISMISS
                                               15
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   1   (9th Cir.1994)). This heightened pleading standard ensures that "allegations of
   2   fraud are specific enough to give defendants notice of the particular misconduct

   3   which is alleged to constitute the fraud charged so that they can defend against the

   4   charge and not just deny that they have done anything wrong." Semegen v. Weidner,

   5   780 F.2d 727, 731 (9th Cir. 1985).

   6         Here, Jetro’s Counterclaim for Fraud does not meet the heightened pleading

   7   standard of Rule 9 because the allegations do not state with the requisite
       particularity the circumstances constituting the alleged fraud. Jetro cryptically
   8
       alleges that Adlife failed to disclose “important facts” concerning its discovery of
   9
       Jetro’s unauthorized use of Adlife’s food images after the term of the license
  10
       agreement had expired, but does not specify what facts were misrepresented. See
  11
       Counterclaim ¶35. Nor does Jetro allege when or how Adlife’s alleged omissions
  12
       were supposed to be disclosed to Jetro, why Adlife was obligated to disclose them
  13
       to Jetro in the first place, or why any alleged purposeful omission would rise to the
  14
       level of being fraudulent as opposed to negligent or some lesser standard.
  15
             Indeed, Jetro’s counterclaim for fraud does not allege that the parties had any
  16
       contact at all after September 2018 when Jetro cancelled its subscription. See
  17
       Complaint ¶¶37-38; Answer ¶¶37-38. This is critical because Jetro does not and
  18
       cannot allege with specificity a circumstance in which Adlife was in a position to
  19
       make the alleged fraudulent omission in the first place.
  20
             Therefore, Jetro’s Fifth Counterclaim for Fraud must be dismissed for failure
  21
       to plausibly state a claim under the heightened Rule 9 pleading standard.
  22
             6.     Jetro’s Counterclaim For Unfair Competition Should Be
  23                Dismissed For Failure To Meet The Rule 9 Pleading Standard.
  24         For its final Counterclaim, Jetro alleges a claim common law Unfair
  25   Competition which sounds in fraud:
  26               41     .As set forth above, Adlife engaged in the unfair withholding of
             material information concerning its discovery of asserted infringing and/or
  27         unauthorized uses following the expiration of the Agreement.
                   42. Adlife’s actions constitute unlawful, unfair, malicious and/or
  28         fraudulent practices. As a result of Adlife’s actions, Counterclaimants have
                                       MOTION TO DISMISS
                                             16
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              been injured and lost money in an amount to be determined at trial.
   1
       Counterclaim ¶¶41-42.
   2
              Rule 9(b)'s heightened pleading standard applies not only to federal claims,
   3
       but also to state law claims brought in federal court. Vess, 317 F.3d at 1103. If a
   4
       cause of action “sounds in fraud” it is subject to the Rule 9 pleading standard even
   5   if fraud is not an express element of the claim. See Sparling v. Daou, 411 F.3d
   6   1006, 1027 (9th Cir. 2005).
   7          Jetro’s pleading expressly concedes that its Sixth Counterclaim for Unfair
   8   Competition arises out of Adlife’s allegedly fraudulent practices. It is therefore
   9   subject to the heightened pleading requirement of Rule 9. Similar to the argument
  10   advanced in section III.6, supra, Jetro does allege with requisite specificity the facts
  11   surrounding the who, what, where, when, or why of Adlife’s alleged fraudulent
  12   activity.
  13          Therefore, Jetro’s Sixth Counterclaim for Unfair Competition must be
  14   dismissed for failure to plausibly state a claim under the heightened Rule 9 pleading
  15   standard.
  16
       IV.    CONCLUSION
  17
              Plaintiff Adlife respectfully requests that all six of Jetro’s Counterclaims be
  18
       dismissed for failure to state a claim.
  19
  20
       DATED: October 7, 2019                         Respectfully submitted,
  21
  22                                                        /s/ Ryan E. Carreon
                                                            Ryan E. Carreon, Esq.
  23                                                        Cal. Bar No. 311668
                                                            HIGBEE & ASSOCIATES
  24                                                        1504 Brookhollow Dr., Ste 112
                                                            Santa Ana, CA 92705-5418
  25                                                        (714) 617-8336
                                                            (714) 597-6559 facsimile
  26                                                        Counsel for Plaintiff

  27
  28
                                         MOTION TO DISMISS
                                               17
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                                     PROOF OF SERVICE
   1
       I, the undersigned, say:
   2
   3
             I am a citizen of the United States and I am a member of the Bar of this
   4
       Court. I am over the age of 18 and not a party to the within action My business
   5
       address is 1504 Brookhollow Dr., Ste 112, Santa Ana, California, 92705.
   6
   7         On October 15, 2019, I caused to be served the foregoing documents:
   8
             NOTICE OF MOTION AND MOTION TO DISMISS THE
   9         COUNTERCLAIMS; DECLARATION OF RYAN E. CARREON;
             PROPOSED ORDER
  10
  11         I hereby certify that I electronically filed the foregoing with the Clerk of the
  12   Court for the United States District Court, Central District of California using the

  13   CM/ECF system which will send notice of such filing to the following registered

  14   CM/ECF users:

  15
             Stephen M. Lobbin
  16
             sml@smlavvocati.com
  17
  18         I certify under penalty of perjury under the laws of the United States that the
  19   foregoing is true and correct.    Executed on October 15, 2019, at Santa Ana,
  20   California.
  21
  22                                                /s/ Ryan E. Carreon
                                                    Ryan E. Carreon, Esq.
  23                                                Counsel for Plaintiff

  24
  25
  26
  27
  28
                                        MOTION TO DISMISS
                                              18
